 1     Jay M. Goffman
       SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 2     Four Times Square
       New York, New York 10036
 3     Telephone: 212-735-3000
       Facsimile: 212-735-2000
 4
       - and -
 5
       Kurt Ramlo (Cal Bar No. 166856)
 6     SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
       300 South Grand Avenue, Suite 3400
 7     Los Angeles, California 90071
       Telephone: 213-687-5000
 8
       Facsimile: 213-687-5600
 9
       Counsel for Warren C. Woo and
10      Forecheck Investments, LLC

11                                      UNITED STATES BANKRUPTCY COURT

12                              FOR THE NORTHERN DISTRICT OF CALIFORNIA

13                                               SAN FRANCISCO DIVISION

14     In re:                                                              Case No. 08-31002 TEC

15     BDB MANAGEMENT III, LLC,                                            Chapter 11

16                                   Debtor                                Second Amended Notice of Appearance
                                                                           and Request for Notice and Service of
17                                                                         Papers

18

19              PLEASE TAKE NOTICE that Skadden, Arps, Slate, Meagher & Flom LLP hereby amends

20 its Amended Notice of Appearance and Request for Notice and Service of Papers and appears in
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23 creditors and/or parties-in-interest in the above-captioned bankruptcy case, pursuant to section

24 1109(b) of the Bankruptcy Code and Rule 9010(b) of the Federal Rules of Bankruptcy Procedure

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                                          uptcy Rules 2002, 3017 and 9007,

26 and sections 342 and 1109(b) of the Bankruptcy Code, that copies of all notices, pleadings,

27 disclosure statements, and plans filed or otherwise provided in this chapter 11 case be served upon
28 the persons listed below at the following addresses:
                                                     1
                                      Second Amended Notice of Appearance and Request for Notice and
Case: 08-31002             Doc# 32
                                ServiceFiled:
                                       of Papers06/26/08      Entered:
                                                 by Warren C. Woo         06/26/08
                                                                  and Forecheck        14:48:37
                                                                                Investments, LLC              Page 1 of 3
     1370690.02-New York Server 7A                                                      MSW - Draft June 26, 2008 - 3:48 PM
 1
                                            Jay M. Goffman
 2                                          Skadden, Arps, Slate, Meagher & Flom LLP
 3                                          Four Times Square
                                            New York, New York 10036
 4                                          Facsimile: 212-735-2000
                                            jay.goffman@skadden.com
 5
                                            and
 6

 7                                          Andrew M. Thau
                                            Skadden, Arps, Slate, Meagher & Flom LLP
 8                                          Four Times Square
                                            New York, New York 10036
 9                                          Facsimile: 212-735-2000
                                            andrew.thau@skadden.com
10
               PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the Bankruptcy
11
     Code, the foregoing demand includes not only the notice and papers referred to in the Bankruptcy
12
     Rules specified above, but also includes, without limitation, any order, notice, application,
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     complaint, demand, motion, petition, pleading, or request, whether formal or informal, written or
14
     oral, and whether transmitted or conveyed by mail, delivery, telephone, telegraph, telex, or
15
     otherwise filed or made with regard to the referenced case and proceedings herein.
16
               Neither this request for notice and service nor any later appearance, pleading, claim or suit
17
     (1) is a consent to jurisdiction or waives any objection that may be made to the jurisdiction of the
18
     Court, (2) is a consent to have an attorney accept service of process or of a pleading or other paper
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     initiating a contested matter, (3) waives any right to have final orders in non-core matters entered
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     only after de novo review by a district judge, (4) waives any right to trial by jury in any proceeding
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     so triable in this case or any case, controversy or proceeding related to this case, (5) waives any
22
     right to have the district court withdraw the reference in any matter subject to mandatory or
23
     discretionary withdrawal, or (6) waives any other substantive or procedural right.
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                                      Second Amended Notice of Appearance and Request for Notice and
Case: 08-31002             Doc#      32
                                     ServiceFiled:
                                            of Papers06/26/08      Entered:
                                                      by Warren C. Woo         06/26/08
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     1370690.02-New York Server 7A                                                    MSW - Draft June 26, 2008 - 3:48 PM
 1             This request for notice and service is without prejudice t
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                                                                                     es’rights,
 2 remedies, claims, actions, defenses, setoffs or recoupments in law or in equity against a debtor or

 3 any other entities either in this case or in any other action, all of which rights, remedies, claims,

 4 actions, defenses, setoffs and recoupments are expressly reserved.

 5 Dated: June 26, 2008
                                                     SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP
 6
                                                     Jay M. Goffman
 7                                                   Four Times Square
                                                     New York, New York 10036
 8
                                                     Telephone: 212-735-3000
 9                                                   Facsimile: 212-735-2000

10                                                   - and -

11                                                   SKADDEN, ARPS, SLATE, MEAGHER & FLOM LLP

12                                                   By:   _s/ Kurt Ramlo________________________
                                                           Kurt Ramlo (Cal Bar No. 166856)
13                                                   300 South Grand Avenue, Suite 3400
                                                     Los Angeles, California 90071
14                                                   Telephone: 213-687-5000
                                                     Facsimile: 213-687-5600
15
                                                     Counsel for Warren C. Woo and
16                                                    Forecheck Investments, LLC

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     1370690.02-New York Server 7A                                                    MSW - Draft June 26, 2008 - 3:48 PM
